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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 G. & G. S.R.L.,

       Plaintiff,

              v.                              Civil Action No. 1:20-cv-02095-LMM
 AXXXXXXXX et al.,

       Defendants.

       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff G. & G. S.R.L., by and through undersigned counsel and pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i), hereby voluntarily dismisses the instant action against

Defendants “Alfredo,” “Baicao,” “Beenlo,” “Cover3127,” “Harrvey,” “Hognyeni,”

“Newfashionclothes,” “Pileilang,” “Qingteawater,” “Ranshu,” “ Taiyangstar,”

“Vikey16,” “Xinpiao,” and “Zhifouni” without prejudice, with each party to bear its

own attorneys’ fees and costs.

      Dated: August 4, 2020.

                                              Respectfully submitted,
                                              THE SLADKUS LAW GROUP

                                              s/ Jason H. Cooper
                                              Jason H. Cooper
                                              Georgia Bar No. 778884
                                              Mark L. Seigel
                                              Georgia Bar No. 634617

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